                                                                              Motion GRANTED.
                                                                              Sentencing hearing is RESET
                                                                              for 8/13/14 at 2:00 p.m.
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )       Case No. 3:11-00204-1
 v.                                            )       Aleta A. Trauger
                                               )       U.S. District Court Judge
                                               )
 MANILA VICHITVONGSA                           )
 A/K/A MANEE VICHITVONGSA.                     )


                                 MOTION TO CONTINUE


        Comes now the Defendant, through his attorney, Luke A. Evans and moves this

 Honorable Court for a continuance of his sentencing hearing currently scheduled at 11:00

 a.m. on June 23, 2014. In support of this request, the Defendant states as follows:

        1.      The Defendant is set for trial in a different matter, namely U.S. v. Manila

 Vichitvongsa, et al. 3:12-00013, before Judge Campbell on July 8, 2014. In that case, Mr.

 Vichitvongsa is charged in an eight count indictment, along with seven co-defendants,

 with multiple violations of 18 U.S.C. §§ 1951 and 2, 18 U.S.C. §§ 924(c) and 2 and 21

 U.S.C. §§ 846 and 2. The alleged conduct that led to this indictment will undoubtedly be

 pursued by the Government in the sentencing hearing in this case as relevant conduct that

 bears on the Defendant’s sentence. It is also anticipated that there will be substantial

 overlap regarding anticipated government witnesses in both proceedings. It is anticipated

 that the matter before Judge Campbell will proceed as scheduled.

        2.      Additionally, Counsel continues to engage in plea discussions that , if

 successful, would not only resolve the issues in the matter before Judge Campbell but

 would also resolve the issues pending before this Court. Therefore, in the interest of



Case 3:11-cr-00204       Document 152         Filed 06/17/14      Page 1 of 1 PageID #: 549
